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AO 91 (Rev. 11/11) Criminal Complaint i b LED
CINITED STATES DISTRICT COURT
UNITED STATES DISTRICT COMBUQUERQUE, NEW MEXICO.

 

 

 

for the
District of New Mexico [=] MAY 13 2022
United States of America )
V. )
Ira B. Harris ) CaseNo. 2 2 “NT = 7 &&
)
)
)
)
Defendani(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of December 1, 2021 - January 31, 2022 in the county of San Juan in the
District of New Mexico , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1152 Offenses commited in Indian country
18 U.S.C. § 2242(2)}(A) Engaging in a sexual act with another person if that person is incapable of
appraising the nature of the conduct
18 U.S.C. § 2252A(a}(2)(A) Any person who knowingly receives or distributes any child pornography
18 U.S.C. § 1512(a)(2)(C) Tampering with a witness, victim, or informant

This criminal complaint is based on these facts:
Please see attached affidavit.

@ Continued on the attached sheet.
(Uva AC
YY Complainant's signature

Alyson Berry/FBI Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.

 

Date: (May )3_ Lore b ak rene.

Judge’s signature
B. Paul Briones, US Magistrate Judge

Printed name and title

City and state: Farm ofr ALN.
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AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT

I, Alyson M. Berry, being duly sworn, depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1, This affidavit is made in support of a Criminal Complaint for IRA B. HARRIS,
year of birth 1967 (referred to herein as “HARRIS”).

2. I am a Special Agent of the Federal Bureau of Investigation (“FBI”), where I have
been employed in that capacity since July 2020. I am currently assigned to the Albuquerque
Division of the FBI, Farmington Resident Agency, and have primary investigative responsibility
for crimes that occur in Indian Country, including violent crimes such as homicide, robbery,
aggravated assault, and child sexual assault. In 2021, I attended an advanced Indian Country Crime
Scene Investigation course, including techniques for evidence collection and best practices for
child pornography or child sexual assault cases.

3s The information set forth in this affidavit has been derived from an investigation
conducted by the Farmington Resident Agency of the FBI, the Navajo Nation Department of
Criminal Investigations (“NNDCI”), the Navajo Police Department (“NPD”), Navajo Central
Consolidated School District, San Juan County Sheriff's Office (SJCSO) and Farmington Police
Department (FPD).

4, Based on the facts set forth in this affidavit, there is probable cause to believe there
were violations of 18 U.S.C. § 1152 Offenses committed in Indian country; 18 U.S.C. § 2242(2)(A)
Engaging in a sexual act with another person if that person is incapable of appraising the nature of
the conduct; 18 U.S.C. § 2252A(a)(2)(A) Any person who knowingly receives or distributes any
child pornography; and 18 U.S.C. § 1512(a)(2)(C) Tampering with a witness, victim, or informant,

committed by HARRIS.
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5. This affidavit is intended to show there is probable cause for the requested arrest
warrant and does not set forth all of my knowledge about this matter. The statements in this
affidavit are based on my personal knowledge, information that I have received from other law
enforcement personnel, and from persons with knowledge regarding relevant facts. Because this
affidavit is being submitted for the limited purpose of securing an arrest warrant, I have not
included each and every fact known to me concerning this investigation.

PROBABLE CAUSE

6. On January 19, 2022, NPD responded to Shiprock High School (SRHS), Shiprock,
New Mexico, regarding sexual misconduct between a student and Reserve Officers’ Training
Corps (ROTC) instructor employed by the school. The juvenile student, age 16 for all events
herein, identified with initials B.D. and year of birth 2005 (referred to herein as Jane Doe),
released her personal tablet to the administration at SRHS. Her grandfather and legal guardian,
identified with initials V.D. and year of birth 1953 (referred to herein as John Doe), escorted her.
School administration and the Safety Coordinator for Navajo Consolidated School District took
screenshots of conversations between Jane Doe and the ROTC instructor, later identified as
HARRIS.

7. Among the text messages collected by SRHS administrators, HARRIS wrote to
Jane Doe: “Let me kiss you down there and put it in a little further this time,” and, “...1’m about
to go back and look at that picture again.” Additionally, Jane Doe requested that HARRIS kiss
her “on the wall”, presumably a location with which both are familiar. HARRIS responded
“your back to the wall, you sitting in my lap, and me giving it to you nice and slowly.”

8. FBI Farmington Resident Agency was contacted shortly thereafter by NNDCI. On

January 24, 2022, your affiant and a NNDCI Criminal Investigator met with the Safety
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Coordinator and Principal of SRHS, where Jane Doe’s education plan, intellect, and
comprehension were discussed. Jane Doe, diagnosed with “General Learning Disability,”
followed an Individualized Education Plan (IEP), and was enrolled in Special Education Classes.
The Safety Coordinator disclosed that Jane Doe possessed an IQ score of 60, classified as mild
mental disability. Several IEP meetings were scheduled between administrators, teachers, Jane
Doe, and John Doe. As Jane Doe’s ROTC instructor, HARRIS regularly attended the meetings as
well. HARRIS provided input regarding Jane Doe’s IEP and therefore knew about her cognitive
delays, low IQ level, and comprehension limitations. He signed a form acknowledging his
attendance at Jane Doe’s annual IEP meeting on October 1, 2021 as a Meeting Participant.

9. Additionally, in October of 2021, Jane Doe suffered a psychotic episode at school,
where she physically fought staff after having delusional thoughts. Jane Doe believed she was a
character from the Nightmare on Elm Street movie. Administrators sought to have Jane Doe
transported to Northern Navajo Medical Center (NNMC). Administrators requested that HARRIS
encourage Jane Doe to cooperate with emergency response services. With HARRIS’ assistance,
Jane Doe agreed. NNMC referred Jane Doe to a behavioral health clinic in Las Cruces, New
Mexico, where she was kept for in-patient therapy. HARRIS was aware of Jane Doe’s psychiatric
condition as a firsthand witness.

10. On December 17, 2021, Jane Doe and HARRIS communicated a plan over text
message for her to sneak out of her residence and meet HARRIS at the bus stop. SRHS was closed
for Winter Break, to include all sports and ROTC activities. Jane Doe rode in HARRIS’ grey Ford
F250 truck on back roads to an unknown location on the Navajo Nation Indian Reservation.
During a forensic interview, Jane Doe disclosed the two had vaginal intercourse in the truck, using

a condom. HARRIS drove Jane Doe back to the bus stop. Because Jane Doe was missing for
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approximately two hours, her grandfather and uncle began searching for her in two separate
vehicles. Spotting HARRIS’ truck, Jane Doe’s uncle parked in front of the vehicle, and her
grandfather parked behind. Jane Doe’s grandfather and uncle confronted HARRIS and removed
Jane Doe from HARRIS’ truck.

11. On January 21, 2022, the tablet used by Jane Doe to communicate with HARRIS
was extracted and analyzed. Photographs and videos from the tablet show a close-up of Jane Doe’s
covered breasts, as well as a video of her stripping down to her underwear and a t-shirt.
Communication between Jane Doe and HARRIS continued into mid-January, 2022. At the end of
January 2022, while receiving in-patient behavioral health treatment in Santa Teresa, New
Mexico, Jane Doe disclosed that she removed the SD card used for extra storage from her tablet
prior to turning the device over to administrators at SRHS. Jane Doe disclosed that a picture of
her naked vaginal area and breasts were sent to HARRIS, but these items were saved on the SD
card. Jane Doe stated that the photograph referenced by HARRIS in aforementioned text messages
was of her naked vaginal area. These photographs and videos were taken by Jane Doe in her
bedroom, located within the exterior boundaries of Navajo Nation Indian Reservation.

12. On February 7, 2022, FBI and NNDCI searched the bedroom of Jane Doe after
receiving signed consent from her grandfather. No SD cards were located. However, a second
tablet hidden in an upper closet was located. Jane Doe’s grandmother and grandfather did not
know this tablet existed. According to Jane Doe’s grandparents, they were previously told this
table was broken and needed replaced. Therefore, Jane Doe had access to two different devices.
Communication with HARRIS continued after her first tablet was turned over to authorities.

13. Discovered on the second table were messages from January 18, 2022, a month

after being caught with Jane Doe in his truck. HARRIS texted:
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“Sorry I can’t talk right now. I think I lost my job today. I might be going to jail
once they read all of your text messages that you didn’t delete. And the police came over
to my house today and took all my guns because I think that I might hurt myself”

“My life is literally ruined”

“ J should not have come over to meet you at the bus stop back in December”

“..you have to keep in mind that [it] is talk like that is what’s gotten us in so much
trouble right now”

HARRIS essentially blames Jane Doe for the involvement of law enforcement because she
did not delete text messages he sent. HARRIS additionally pressures Jane Doe with guilt by
threatening to end his life and explaining that his life is ruined.
14. In. an attempt to comfort HARRIS, Jane Doe responds, “Daddy I wanna bite your
lip and body”. The response shows a lacking comprehension of consequences and demonstrates
Jane Doe’s relationship with HARRIS. The conversation continues as follows:

“Please don’t I was giving some serious thought about killing myself today”
(HARRIS)

“Pls don’t kill your yourself your everything I have now and without what will I
do or think.” (Jane Doe)

“I don’t know what to do everything is so bad right now” (HARRIS)

“You can't leave me you just can’t leave me [message is followed by a crying
emoji]” (Jane Doe)

“I don’t think you understand the gravity of the situation” (HARRIS)
“Today I lost my job” (HARRIS)

“When they're done with their investigation I’m pretty sure I’ll lose my freedom
because I'll be on my way to jail” (HARRIS)

HARRIS’ messages continue to pressure Jane Doe with guilt for cooperating with school
administration and law enforcement while acknowledging his relationship with Jane Doe was

both inappropriate and illegal.
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15. The tablets included an application capable of creating a phone number that Jane
Doe and HARRIS utilized to call and text one another via Internet connection. The phone number
used by HARRIS matched the cell phone number on his SRHS employee records. Additionally,
a subpoena for AT&T phone records was submitted using the phone number belonging to
HARRIS. The subscriber information matched HARRIS’ social security number, birthdate, and
personal address. On February 2, 2022, AT&T provided a return to the subpoena. Phone records
of calls and SMS messages to and from Jane Doe corresponded with the history on Jane Doe’s
tablets. Additionally, records show HARRIS used an Apple iPhone 11 Promax with IMEI number
3538991037750321. IMEI numbers are unique to each device.

16. On February 22, 2022, FBI agents, assisted by local law enforcement, executed a
search warrant, Case No. 22-MR-260 on the residence of HARRIS. Several electronic devices, to
include cellular telephones, desktop and laptop computers, and storage devices were collected.
HARRIS identified his cellular telephone before it was collected off the charger in his living room.
The IMEI number on the device matches the IMEI number provided by AT&T. The majority of
the devices collected were Apple manufactured products. Based on my training and experience, |
am aware the contents of several types of Apple devices, to include watches, tablets, laptop
computers, desktop computers, and cellular telephones can be backed up using and iCloud
account. According to Apple, iCloud “is the service from Apple that securely stores your photos,
files, notes, passwords, and other data in the cloud and keeps it up to date across all your devices,
automatically.” It was with this knowledge the devices were subsequently searched by FPD
detectives specializing in computer forensics.

17. Upon executing a search warrant obtained for the devices collected from HARRIS’

residence, a laptop containing the image of a female’s exposed breasts was located. The Detective
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described the subject as a “younger female” with identifying features to include a freckle on the
female’s left clavicle. A sweatshirt or jacket with exercise terms written in white font is also
shown in the image. The clothing has letters with corresponding exercises, such as K — Kicks, J —
Jumps, for example. Within the report, the exposed breasts are not shown. However, the Detective
includes photographs of the clavicle area and the specific clothing for identification purposes.

18. On March 30, 2022, your affiant and a Criminal Investigator from NNDCI re-
interviewed Jane Doe. Jane Doe was shown the images included in the report from the FPD
Detective who analyzed HARRIS’ devices. Jane Doe recognized the blue shirt with white writing
as one she borrowed from a friend and agreed to have her clavicle photographed for comparison.
Jane Doe has a freckle on her clavicle matching the one shown in the photograph of the exposed
breasts on HARRIS’ device. Jane Doe also verbally acknowledged the freckle in the exposed
breasts photo is hers. According to Jane Doe, she sent HARRIS twenty or more photos from her
tablets. Most of these photographs featured Jane Doe with makeup on, fully clothed.
Approximately three or more showed Jane Doe’s naked breasts or vaginal area. The naked photos,
taken in approximately December 2021 or January 2022, were taken in her bedroom or in the
living room while her family slept.

19. The incident under investigation occurred within the exterior boundaries of the
Navajo Nation Indian Reservation. Jane Doe is a registered member of the Navajo Nation, while
HARRIS is not.

20. HARRIS had firsthand knowledge of Jane Doe’s limited cognitive abilities and
sensitive mental health conditions. He participated in the development of her IEP and was trusted
as a support person when Jane Doe had psychotic episodes and required assistance. Her inability

to consent, understand consequences, or make mature decisions was apparent.
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21. The photograph found on HARRIS’ laptop computer constitutes child
pornography. The image was confirmed to be that of Jane Doe, a minor. Physical features were
compared in addition to Jane Doe’s verbal confirmation in order to verify the identity of the
female in the photograph.

22. The text messages between HARRIS and Jane Doe were originally sexual in nature.
As Jane Doe began to cooperate with school administration and law enforcement, HARRIS’
messages threatening self-harm and suicide became burdensome for Jane Doe. HARRIS blames
the discovery of the messages on Jane Doe’s devices for potential legal ramifications, negating
his own responsibility in the matter.

AUTHORIZATION REQUEST.

23. Based on the facts set forth in this affidavit, there is probable cause to believe there
was a violation of 18 U.S.C. § 1152 Offenses committed in Indian country; 18 U.S.C. §
2242(2)(A) Engaging in a sexual act with another person if that person is incapable of appraising
the nature of the conduct; 18 U.S.C. § 2252A(a)(2)(A) Any person who knowingly receives or
distributes any child pornography; and 18 U.S.C. § 1512(a)(2)(C) Tampering with a witness,
victim, or informant, committed by HARRIS.

24. Assistant United States Attorney Brittany DuChaussee, District of New Mexico,
reviewed and approved this affidavit.

25. I swear that this information is true and correct to the best of my knowledge and

belief.
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Wy x

Alyson M. Berry, Special Agent
Federal Bureau of Investigation

Sworn to and subscribed before me on [ You “ ] , 2022.

The Honorable B. Paul Briones
United States Magistrate Judge
